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IN THE UNITED sTATEs DISTRICT COURT FKED$E"~I;Q_&C.
FOR THE wESTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION 95AU52h PHI2:37

 

 

ASAD EL-AMIN MUJIH.ADEEN,
Plaintiff,
vs. No. 03-2044-D/An

TENNESSEE BOARD OF PROBATION
AND PAROLES, et al.,

Defendants.

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ORDER GRANTING PLAINTIFF'S REQUEST TO WITHDRAW MOTION TO COMPEL

 

On August 2, 2005, plaintiff filed a motion to compel
discovery and for sanctions. On August 8, 2005, the clerk filed a
letter from the plaintiff seeking to withdraw his motion, which he
characterized as “premature.” Defendants filed a response to that
motion on August 10, 2005 stating that they did, in fact, respond
or object to plaintiff’s discovery requests. Plaintiff filed a
reply on August 12, 2005 in which he agreed that his motion is
moot. For good cause shown, the Court GRANTS plaintiff's motion to
withdraw his August 2, 2005 motion to compel.

IT IS SO ORDERED this ¢é?g day Of AugUSt, 2005.

 
 
  

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UN'TED STATES DISTRICT JUD

 

 

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This notice confirms a copy of the document docketed as number 94 in
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Honorable Bernice Donald
US DISTRICT COURT

